Case 8:20-cv-01973-JLS-DFM Document 335 Filed 06/08/23 Page 1 of 1 Page ID #:5731



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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 8:20-cv-01973-JLS-DFM                                      Date: June 08, 2023
  Title: Clifford Rosen et al v. Urban Commons, LLC et al



  Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

           V.R. Vallery                                                 N/A
           Deputy Clerk                                             Court Reporter

    Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:

             Not Present                                             Not Present

  PROCEEDINGS: (IN CHAMBERS) AMENDMENT TO ORDER GRANTING
               PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
               AGREEMENT (DOC. 330); ORDER DISMISSING ACTION
               AND RETAINING JURISDICTION TO ENFORCE
               SETTLEMENT AGREEMENT

         In its Order issued May 10, 2023, the Court Ordered Plaintiffs to file a proposed
  judgment consistent with the terms of the Order. (See Doc. 330 at 9.) Plaintiffs have
  done so. (See Docs. 332, 333.) Upon consideration, the Court finds that issuing a
  judgment at this juncture would be premature and vacates the portion of its May 10 Order
  requiring the submission of a proposed judgment. The Court’s May 10 Order fully
  disposes of this action pursuant to the terms of the Settlement Agreement reached by the
  parties. Accordingly, the action is DISMISSED. The Court retains jurisdiction to
  enforce the Settlement Agreement in the event that it is breached, consistent with the
  terms set forth in the Court’s May 10 Order. See K.C. ex rel. Erica C. v. Torlakson, 762
  F.3d 963, 967 (9th Cir. 2014). Such enforcement may include entry of judgment
  pursuant to the stipulated judgment provision of the Settlement Agreement.




                                                              Initials of Deputy Clerk: vrv


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